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                                 UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                         CRIMINAL ACTION

VERSUS
                                                                                 NO. 16-104-SDD-EWD
ALVIN WATTS, III
                                                     ORDER

         This matter is before the Court on a Motion for Sentence Reduction Pursuant to 18 U.S.C.

§ 3582(c) filed by Defendant, Alvin Watts, III (“Defendant”).1 The Government opposes this

motion.2 For the following reasons, the motion is denied.

                                                  Background

         Defendant is currently incarcerated at Oakdale II FCI in Oakdale, Louisiana following

being convicted by a jury of (1) conspiracy to possess, transport, and traffic embezzled pre-retail

medical products and stolen property; (2) trafficking in stolen and embezzled pre-retail medical

products; (3) transportation of stolen property; and (4) receipt, possession, concealment, storage,

and sale of stolen property.3 His projected release date is December 21, 2025.4 The Defendant




1
  R. Doc. 375. Defendant also filed Responses to the Opposition and supplemented the record. See, e.g., R. Docs.
378, 383, 414, 431 432, 435, 456, 457, & 463. In R. Doc. 378 and its attachments, Defendant requests to supplement
the record with additional evidence including a response from Oakdale’s warden in response to Defendant’s request
for “camp consideration,” and a federal prison newsletter, a compassionate release denial. The Court has considered
these documents in connection with the Motion for Compassionate Release and has determined these records do not
aid Defendant in proving extraordinary and compelling circumstances warranting compassionate release. Thus, the
Motion will be granted, but since it has already been considered, the Court does not delay in ruling on the Motion for
Compassionate Release. The same is true for the Motion to Supplement contained in R. Doc. 463. The Court has
considered the arguments provided therein but has determined that these arguments do not support Defendant’s case.
Rather, the fact that FCI Oakdale II initiates a 14 day lockdown as a result of only two positive COVID-19 cases
supports the notion that Defendant is quite safe in his current environment.
2
  R. Doc. 379. The Government also filed updated supplemental responses in opposition to the Motion and exhibits.
R. Docs. 382, 431, 432, 446, & 449.
3
  R. Doc. 184. The Inmate Locator can be found on BOP’s website at https://www.bop.gov/inmateloc/ (last visited
on October 27, 2021).
4
  Federal Bureau of Prisons, www.bop.gov/inmateloc/ (last visited on October 27, 2021).


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now moves for a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), claiming that his

serious medical conditions are “extraordinary and compelling” reasons to reduce his sentence.

                                                 Law and Analysis

           A judgment, including a sentence of imprisonment, “may not be modified by a district

court except in limited circumstances.”5 Under 18 U.S.C. § 3582(c), a court generally “may not

modify a term of imprisonment once it has been imposed,” except in three circumstances: (1) upon

a motion for reduction in sentence under 18 U.S.C. § 3582(c)(1)(A); (2) “to the extent otherwise

expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal Procedure,” 18

U.S.C. § 3582(c)(1)(B); and (3) where the defendant was sentenced based on a retroactively

lowered sentencing range, 18 U.S.C. § 3582(c)(2).

           In this case, Defendant moves to modify his sentence under 18 U.S.C. § 3852(c)(1)(A).

Under § 3852(c)(1)(A)(i), a court may reduce a prisoner's sentence “if it finds that” (1)

“extraordinary and compelling reasons warrant such a reduction” and (2) the reduction is

“consistent with applicable policy statements issued by the Sentencing Commission.”

           Prior to 2018 only the Director of the BOP could file these kinds of compassionate release

motions. In 2018, Congress passed, and President Trump signed the First Step Act, which among

other actions, amended the compassionate release process.                Under the First Step Act, §

3852(c)(1)(A) now allows prisoners to directly petition courts for compassionate release. Before

filing such motions, however, prisoners must exhaust their administrative remedies.

           After a prisoner exhausts his administrative remedies, a district court may reduce a

defendant's term of imprisonment if the court finds “extraordinary and compelling reasons warrant




5
    Dillon v. United States, 560 U.S. 817, 825 (2010).


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such a reduction” and “such a reduction is consistent with applicable policy statements issued by

the Sentencing Commission.” 18 U.S.C. § 3852(c)(1)(A)(i).

                                Extraordinary and Compelling Reasons6

         The Sentencing Commission's policy statement regarding compassionate release is

consistent with the statute and provides, in pertinent part, as follows:

                  Upon motion of the Director of the Bureau of Prisons under 18 U.S.C. §
                  3582(c)(1)(A), the court may reduce a term of imprisonment (and may impose a
                  term of supervised release with or without conditions that does not exceed the
                  unserved portion of the original term of imprisonment) if, after considering the
                  factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable, the
                  court determines that—
                          (1) extraordinary and compelling reasons warrant the reduction; ...
                          (2) the defendant is not a danger to the safety of any other person or to the
                          community, as provided in 18 U.S.C. § 3142(g); and
                          (3) the reduction is consistent with this policy statement.

         In the commentary following the policy statement, the Sentencing Commission identifies

three specific reasons that are considered “extraordinary and compelling” as well as a broader

provision for reasons deemed “extraordinary and compelling.”

                  1. Extraordinary and Compelling Reasons.—Provided the defendant meets the
                  requirements of subdivision (2) [regarding absence of danger to the community],
                  extraordinary and compelling reasons exist under any of the circumstances set forth
                  below:
                         (A) Medical Condition of the Defendant.—
                                  (i) The defendant is suffering from a terminal illness (i.e., a serious
                         and advanced illness with an end of life trajectory). A specific prognosis of
                         life expectancy (i.e., a probability of death within a specific time period) is
                         not required. Examples include metastatic solid-tumor cancer, amyotrophic
                         lateral sclerosis (ALS), end stage organ disease, and advanced dementia.
                                  (ii) The defendant is—
                                          (I) suffering from a serious physical or medical condition,



6
  Defendant also did not properly exhaust administrative remedies prior to filing his motion seeking compassionate
release, which provides this Court with a basis for denial of the motion without prejudice, but since the motion has no
substantive merit, the Court simply denies the motion on the merits. See United States v. Hanzik, No. 20-61221, 2021
WL 4954069 (5th Cir. Oct. 25, 2021) (wherein the Fifth Circuit declined to address whether the defendant had
exhausted administrative remedies with respect to his motion for compassionate release and, instead, relied on the
district court’s alternative conclusion that the motion failed on the merits).


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                                            (II) suffering from a serious functional or cognitive
                                            impairment, or

                             (B) experiencing deteriorating physical or mental health because of the
                             aging process, that substantially diminishes the ability of the defendant to
                             provide self-care within the environment of a correctional facility and from
                             which he or she is not expected to recover.
                                    (B) Age of the Defendant.—The defendant
                                            (i) is at least 65 years old;
                                            (ii) is experiencing a serious deterioration in physical or
                                            mental health because of the aging process; and (iii) has
                                            served at least 10 years or 75 percent of his or her term of
                                            imprisonment, whichever is less.

                             (C) Family Circumstances.—
                                    (i) The death or incapacitation of the caregiver of the defendant's
                                    minor child or minor children.
                                    (ii) The incapacitation of the defendant's spouse or registered partner
                                    when the defendant would be the only available caregiver for the
                                    spouse or registered partner.

                             (D) Other Reasons.—As determined by the Director of the Bureau of
                             Prisons, there exists in the defendant's case an extraordinary and compelling
                             reason other than, or in combination with, the reasons described in
                             subdivisions (A) through (C). U.S.S.G § 1B1.13 cmt. n. 1.

           In United States v. Shkambi,7 the Fifth Circuit addressed, as a question of first impression,

whether § 1B1.13 and its commentary bind the district court when ruling on motions filed by

defendants on their own behalf after Congress amended §3582(c)(1)(A) to permit such filings. The

Court held “that neither the policy statement nor the commentary to it binds a district court

addressing a prisoner's own motion under § 3582,” and “[t]he district court ... is bound only by §

3582(c)(1)(A)(i) and, as always, the sentencing factors in § 3553(a).”8

           Shkambi does not, however, render § 1B1.13 irrelevant with respect to defendant-filed

motions under § 3582(c)(1)(A). As the Fifth Circuit recognized even before Shkambi, “[a]lthough

not dispositive, the commentary to ...§ 1B1.13 informs our analysis as to what reasons may be


7
    993 F.3d 388 (5th Cir. 2021).
8
    Id. at 393.


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sufficiently ‘extraordinary and compelling’ to merit compassionate release.”9 And other circuits

are in accord.10

         The defendant bears the burden to establish circumstances exist under which he is eligible

for a sentence reduction under 18 U.S.C. § 3582(c)(1)(A)(i).11 The only “extraordinary and

compelling reason” that would apply in this case is “(A) Medical Condition of the Defendant.”

                                      Medical Condition of Defendant

         In his request, Defendant alleges that he suffers from hypertension and obesity.12 Despite

these underlying conditions, Defendant’s condition does not present extraordinary or compelling

reasons for compassionate release because he has now been fully vaccinated with the Pfizer-

BioNTech COVID-19 vaccine.13 In the Fifth Circuit and elsewhere, courts have denied early

release to inmates with a variety of medical conditions who, like Defendant, have been vaccinated

for COVID-19.14


9
  United States v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021).
10
    United States v. Gunn, 980 F.3d 1178, 1180 (7th Cir. 2020) (“The substantive aspects of the Sentencing
Commission's analysis in § 1B1.13 and its Application Notes provide a working definition of ‘extraordinary and
compelling reasons’; a judge who strikes off on a different path risks an appellate holding that judicial discretion has
been abused. In this way the Commission's analysis can guide discretion without being conclusive.”); United States
v. Aruda, 2021 WL 1307884, at *4 (9th Cir. Apr. 8, 2021) (citing Gunn and recognizing “[t]he Sentencing
Commission's statements in U.S.S.G. § 1B1.13 may inform a district court's discretion for § 3582(c)(1)(A) motions
filed by a defendant, but they are not binding”).
11
   United States v. Ennis, EP-02-CR-1430-PRM-1, 2020 WL 2513109, at *4 (W.D. Tex. May 14, 2020) (“[T]he
defendant has the burden to show circumstances meeting the test for compassionate release.” (citing United States v.
Stowe, No. CR H-11-803 (1), 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25, 2019))); United States v. Wright, Crim.
Action No. 16-214-04, 2020 WL 1976828, at *6 (W.D. La. Apr. 24, 2020) (Petitioner has the “burden of showing the
necessary circumstances, or a combination of circumstances, that would warrant relief under the compassionate release
statute.”).
12
   R. Doc. 375, p. 7.
13
   R. Doc. 449.
14
   See United States v. Parham, No. 1:19-CR-133, 2021 WL 1911899, at *2 (S.D. Miss. May 12, 2021) (finding that
“generalized concerns of contracting COVID-19[ ] are not an ‘extraordinary and compelling reason’ ” where the
defendant had received the COVID-19 vaccine); United States v. Schad, No. CR 2:17-225-3, 2021 WL 1845548, at
*4 (S.D. Tex. May 5, 2021) (denying compassionate release where the defendant had been fully vaccinated against
COVID-19); United States v. Wakefield, No. 1:19-CR-00095, 2021 WL 640690, at *3 (W.D.N.C. Feb. 18, 2021)
(“Because [the defendant] has already contracted the virus and recovered without complication, and because he is in
the process of being vaccinated, the [d]efendant cannot meet his burden of establishing that his COVID-19 risk is an
extraordinary and compelling reason for his release.”); United States v. Grummer, No. 08-CR-4402, 2021 WL 568782,
at *2 (S.D. Cal. Feb. 16, 2021) (denying compassionate release and noting that “[a]lthough Defendant suffers from
several chronic medical conditions, his vaccination significantly mitigates the risk that he will contract COVID-19”);


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         Defendant’s newest argument that he should qualify for release because he has not received

a COVID-19 booster shot is also unpersuasive.15 Defendant received his second dose of the Pfizer

vaccine on June 3, 2021.16 For individuals who received the Pfizer vaccine, like Defendant here,

the CDC’s most recent recommendation calls for vaccine booster shots if the individual completed

their initial series at least six months ago and are, in pertinent art, age 18+ and have underlying

medical conditions or who are 18+ and live in high-risk settings.17 Accordingly, Defendant is not

eligible at this time for a booster shot because he received his vaccination less than six months

ago.18

         Further, though Defendant has submitted numerous scientific articles and has presented

arguments regarding breakthrough infections,19 this Court has previously found that

                 amidst the current surge attributable to the Delta variant, hundreds
                 (and sometimes thousands) of new cases of COVID-19 are reported
                 among Louisiana’s general, non-prison population each day. In
                 short, on the present showing it is not clear that Defendant is at a
                 significantly higher risk of exposure to COVID-19 as a result of his
                 confinement. Thus, again, his case is not “extraordinary.”20


According to www.bop.gov, as of October 27, 2021, at Oakdale II FCI, where Defendant is

incarcerated, there are only four active cases of COVID-19 among the 1,075 inmates and eight




United States v. Beltran, No. 6:16-CR-00004, 2021 WL 398491, at *3 (S.D. Tex. Feb. 1, 2021) (denying
compassionate release to a high-risk inmate with myriad underlying medical conditions who received the vaccine,
finding that “vaccination significantly reduces [the] risk of contracting COVID-19 or experiencing complications
related to a COVID-19 infection.”); accord United States v. Nunez-Arias, No. CR H-16-436, 2021 WL 1537323, at
*3 (S.D. Tex. Apr. 19, 2021).
15
   R. Doc. 463, p. 2.
16
   R. Doc. 449.
17
   Centers for Disease Control and Prevention (updated October 22, 2021).
18
   Once Defendant is eligible for a booster, if he does not receive it, he may attempt to once again move for
compassionate release.
19
   See, e.g., R. Docs. 456, 456-1, & 457.
20
   United States of America v. Leo F. Haymond, III, No. 17-cr-38, 2021 WL 4947859, *2 (M.D. La. Oct. 25, 2021).


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positive staff members. Accordingly, Defendant is not at a significantly greater risk of contracting

COVID-19 due to his incarceration, and his circumstances are not “extraordinary.”21

         Finally, at the entire Oakdale Complex, comprised of Oakdale I and II, 198 staff members

and 1,726 of the 1,987 inmates have been fully vaccinated.22 Considering that 86.86% of the

inmate population at the Oakdale Complex has been fully vaccinated, Defendant’s risk is relatively

low, especially considering that he too has been vaccinated.23 As such, considering Defendant’s

vaccination status, the low number of cases at Oakdale II FCI, and the high percentage of

vaccination at the Oakdale Complex, Defendant has failed to establish the existence of sufficient

reasons based on his medical conditions or the COVID-19 pandemic that would constitute

extraordinary and compelling reasons to warrant relief under the compassionate release statute.

                                                    Conclusion

         For the above and foregoing reasons,

         IT IS ORDERED that the Defendant’s Motion for Compassionate Release24 is DENIED.

         IT IS FURTHER ORDERED that the Motion to Supplement25 and second Motion to

Supplement26 are GRANTED27 and the Motion for Extension to Respond to the Government’s

Opposition of Defendant’s Motion for Compassionate Release and to Supplement the Record28 is

DENIED AS MOOT.



21
   See Id. (wherein this Court denied compassionate release where the Defendant argued he suffered from obesity and
took into account the fact that the defendant was not at a significantly higher risk of contracting COVID-19 as a result
of his incarceration as compared to the general public).
22
   These statistics may be found at https://www.bop.gov/coronavirus/ (last visited October 27, 2021).
23
   See United States v. Pineda, No. 01-cr-108-5, 2021 WL 4137519, *3 (S.D. Tex. Sept. 8, 2021) (noting that as
vaccine access expands, the risk that an inmate will contract a serious case of COVID-19 continues to decrease).
24
   R. Doc. 375.
25
   R. Doc. 378.
26
   R. Doc. 463.
27
   As noted above, the information contained in the supplements was considered in connection with ruling on the
Motion for Compassionate Release.
28
   R. Doc. 384. Since the filing of this Motion, Defendant has responded to the Government’s opposition and
supplemented the record. See, e.g., R. Docs. 435, 455, 456.


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        IT IS FURTHER ORDERED that Defendant’s Motions to Expedite Ruling for

Compassionate Release and/or Motion for Bail Pending Rule 33 Motion/225529 are DENIED AS

MOOT.

        Baton Rouge, Louisiana, this 28th day of October, 2021.


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                                                   ________________________________
                                                   SHELLY D. DICK
                                                   CHIEF DISTRICT JUDGE
                                                   MIDDLE DISTRICT OF LOUISIANA




29
  R. Docs. 450 & 451. To the extent Defendant seeks to expedite a ruling on his Motion for Bail he should file a
separate motion.


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